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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 NATIONAL PUBLIC RADIO, INC., et al.,

                               Plaintiffs,          Civil Case No. 25-cv-1674

                v.
                                                    DECLARATION OF
 DONALD J. TRUMP, et al.,                           BREEZE RICHARDSON
                               Defendants.




                       DECLARATION OF BREEZE RICHARDSON

I, Breeze Richardson, hereby declare as follows:

       1.      I am over 18 years of age, am competent, and make this declaration based upon my

own personal knowledge. I make this declaration in support of Plaintiffs’ Motion for Summary

Judgment. If called to do so, I could and would competently testify to these matters under oath.

       2.      I am the Executive Director of Aspen Public Radio, a position I have held since

June, 2021. I began my career at WBEZ 91.5 FM/Chicago Public Media, where I worked for over

decade in a variety of roles, including daily show production, StoryCorps producer, lead

community engagement researcher, and director of strategic partnerships. Before returning to

public radio, I worked as director of marketing and communications at Kemper Museum of

Contemporary Art in Kansas City, Missouri, and from 2013-2017 I worked for the Kansas Board

of Regents, serving as the agency’s public information officer.

       3.      I am passionate about public radio’s role in emergency preparedness, especially in

rural communities, and currently serve as President of the Rocky Mountain Community

Radio coalition and am an elected member of the Western States Public Radio Board of Directors.




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   A.        Aspen Public Radio and the Communities It Serves

        4.      Aspen Public Radio is an independent, non-profit corporation whose mission is to

support, nourish, and enrich our community by providing informative, entertaining, and

educational radio and digital programming in a reliable and professional manner.

        5.      Founded in 1980 as Roaring Fork Public Radio Translator, Aspen Public Radio has

grown from broadcasting daily hog prices from the University of Wyoming into one of the most

relied upon news institutions in the Roaring Fork Valley. Aspen Public Radio broadcasts award-

winning reporting by a team of local journalists, as well as over two dozen national public radio

programs, including from National Public Radio (NPR) and other distributors of national and

international news.

        6.      We are a rural broadcaster that serves communities in the Roaring Fork, Crystal,

Colorado, Fryingpan, and Eagle River Valleys. Our coverage area includes Pitkin, Eagle, and

Garfield counties, and we proudly serve as the only public broadcaster based in Pitkin County,

Colorado.

        7.      A fundamental part of our mission is to provide the most reliable, accessible, and

resilient emergency information for free to all residents of our coverage area, 24 hours a day, every

day of the year. Due to our rural mountain location, where many residents experience long

commute times and where mountain terrain creates frequent cellular dead zones, FM infrastructure

is absolutely critical to communicating life-saving information including road closures, mud slides,

wildfire threats, and other emergency information.

        8.      Our station’s Board of Directors consists of twelve members and meets quarterly

within the Roaring Fork Valley of Colorado to govern the operations, business, and affairs of the

organization. Board Directors are selected based on the criteria, qualifications, and competencies



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identified as desirable by the Board, following a robust nomination process as outlined in the

organization’s bylaws. Directors represent business, education, philanthropy, public radio, and

local government expertise, with a mix of long-time support and new enthusiasm for the station,

and collectively hold significant experience in administration, management, strategic planning,

relationship management, and corporate relations.

        9.       Our station also has a Community Advisory Committee (CAC) that consists solely

of community members. The CAC advises our station on the impact of our programming on the

local community.

        10.      Aspen Public Radio is a community licensee, meaning that we are an independent,

locally owned and operated broadcaster. On average, we serve 18,000 listeners and 30,000 digital

users each week, and our weekly newsletter is distributed to more than 5,000 unique email

addresses.

        11.      We are also part of a local collaboration to produce a weekly newspaper in Spanish

to best serve the approximately 33,000 Spanish-speaking residents within our coverage area.

        12.      Aspen Public Radio routinely plans and executes many public events each year,

including annual symposiums, town halls, and public convenings, and is proud to partner with over

a dozen community organizations to record and archive public programming throughout our

community for online access and special broadcast opportunities.

   B.         Aspen Public Radio’s Programming and its Relationship with NPR

        13.      Aspen Public Radio has been an NPR Member station since 1990. For most of our

existence, NPR programming has been part of the station’s broadcast offerings. The station’s

tagline is “NPR News for Aspen and the Valley,” and the high-quality journalism the NPR network

provides is core to our identity as a public radio broadcaster. We choose to air NPR programming

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because it is a trusted brand and because our audience has repeatedly asked for this programming,

which provides access to a broader network of journalists and perspectives of communities all

across the country. As an NPR Member station, we are also provided the opportunity to distribute

our local reporting through national NPR programming, which is a critical way for Aspen Public

Radio to execute our mission to inform and inspire.

       14.     We broadcast a total of 92 hours of NPR programming per week, including between

12-15 hours per day on weekdays. We also air other national and international programs. On

weekends, we broadcast a schedule of twenty-two national radio programs along with a local

evening special each Sunday.

       15.     Aspen Public Radio pays an individualized “core fee” to NPR that takes into

account, among other things, that we serve a rural audience. That “core fee” entitles us to air

certain NPR programming, including NPR’s flagship newsmagazines: Morning Edition, All Things

Considered, and Weekend Edition. In addition, Aspen Public Radio pays programming fees to

license additional NPR programming, including Fresh Air and Here & Now. Aspen Public Radio

chooses which NPR programs to license and broadcast based on what we believe best fits the needs

and interests of the communities we serve.

       16.     Our audience deeply appreciates NPR’s programming. 82 percent of our listeners

tune in to NPR’s All Things Considered, 78 percent of our listeners tune in to NPR’s Morning

Edition, and 60 percent of our listeners tune in to NPR’s Fresh Air.

       17.     In addition to the ability to broadcast NPR programming, as an NPR Member

station, Aspen Public Radio also receives services from NPR, including, among other things,

fundraising materials and assets, representation in blanket music license negotiations, and data

regarding audience insights and analytics.



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   C.         Funding for Aspen Public Radio

        18.      Aspen Public Radio’s total operating revenue for Fiscal Year 2025 is approximately

$1.94 million. That operating revenue includes approximately $210,000 in Community Service

Grants (CSGs) from the Corporation for Public Broadcasting (the Corporation). Funding from the

Corporation therefore accounts for approximately 10.8 percent of our budget this year.

        19.      The Corporation provides two types of CSGs—unrestricted and restricted—to local

public radio stations like Aspen Public Radio.

        20.      Unrestricted CSG funds can be used for a variety of purposes, including

programming, production, educational outreach activities, broadcasting, and management and

day-to-day operations.

        21.      Restricted CSG funds must be used to acquire or produce programming to be

distributed nationally; such programming must also be designed to serve the needs of a national

audience.

        22.      Each year, Aspen Public Radio uses restricted CSG funds it receives from the

Corporation to help pay the station’s “core fee” and programming fees to NPR.

   D.         Impact of Executive Order 14290

        23.      Executive Order 14290, “Ending Taxpayer Subsidization of Biased Media,” harms

Aspen Public Radio in multiple immediate ways. First, the Order seeks to chill our editorial

process and journalistic independence by sending a message that the government disapproves of

NPR and will seek to retaliate against NPR as well as Member stations like Aspen Public Radio

that choose to air NPR’s programming. The threat of further retaliation—particularly if we

continue to air NPR’s programming—is concrete to us and has already affected our operations.

Among other things, it has occupied the time of our Board and legal counsel, and I have had to

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address concerns about the possibility of further retaliation voiced by listeners and supporters of

Aspen Public Radio.

       24.     Second, a prohibition that bars Aspen Public Radio from using CSG funds to

acquire NPR’s programming would harm our station in multiple ways. Although we could

potentially use our restricted CSG funds to pay for other national programming that we acquire,

our ability to shift all of those funds toward that purpose would depend from year to year on the

fees set by NPR and by other national content producers and on the mix of programming we choose

to air. The Order’s restriction on the use of CSG funds would constrain our editorial choices if,

for example, we chose to license a greater proportion of NPR programming as compared to other

national programming, or if NPR’s price structure were to shift. Additionally, if this restriction is

applied to all Member stations, that will likely impact NPR’s ability to offer the same high-quality

news and other programming for the same amount that Aspen Public Radio currently pays. A

change in fee structure for the NPR programming we currently air would significantly disrupt

Aspen Public Radio’s budget and could require us to use revenue for national programming that is

currently being used to support the employment of local reporters, the production of special events,

and the acquisition of professional services.

       25.     Third, Aspen Public Radio could not simply substitute other national programming

in place of NPR’s public programming. Our listeners place a high value on receiving content from

NPR specifically—as demonstrated from high popularity of NPR programs among our listeners.

Our brands are deeply connected.

       26.     Fourth, if Aspen Public Radio were no longer able to air NPR programming, we

would lose listeners. This could significantly harm our ability to fundraise—leaving us with even

fewer resources to dedicate to local news, community information, and staff salaries.



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        27.      Aspen Public Radio airs a significant number of hours of NPR programming during

the week. As a small public radio station, we lack the resources to produce content that would fill

that airtime on our own.

   E.         The Public Radio Satellite System (PRSS) and Emergency Alerts

        28.      NPR manages and operates the Public Radio Satellite System (PRSS) on behalf of

the entire public radio system. As an Interconnected station—i.e., a station that uses the PRSS—

Aspen Public Radio receives funds from the Corporation specifically for Interconnection purposes

and Aspen Public Radio pays an Interconnected fee to NPR for its management and operation of

the PRSS. Aspen Public Radio, like all public radio stations, is reliant on the PRSS.

        29.      In times of emergency, the PRSS receives Presidential alerts from the Federal

Emergency Management Agency (FEMA), which it then provides to radio stations all over the

country in the event of a nationwide crisis. In addition, Aspen Public Radio transmits alerts

concerning local and regional emergencies using technology supported by the PRSS.

        30.      Like other public radio stations around the country, Aspen Public Radio is a lifeline

for the communities it serves. Because receiving a radio transmission is not dependent upon

electricity, this is an essential, reliable source of information in the event of a natural disaster,

severe weather incident, or other emergency. Our fall 2024 listener survey revealed that 86 percent

of survey respondents knew to turn to Aspen Public Radio during times of emergency. Aspen

Public Radio distributes approximately 25 emergency signals each year.

        31.      Because Aspen Public Radio serves a rural and mountainous area of the country,

our broadcasting of emergency alerts and information is particularly critical. If, for example, there

is a natural disaster in a remote portion of the Roaring Fork Valley, Aspen Public Radio may be

the only way for first responders to communicate life-saving information to impacted residents.



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       32.     If the distribution of content and emergency information via the PRSS and PRSS-

supported infrastructure was disrupted, it would have a devastating effect on Aspen Public Radio,

the entire public radio system, and all the communities we serve.



I declare under the penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Dated: Aspen, Colorado
       June 13, 2025


       _______________________________

       Breeze Richardson




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